536 F.2d 303
    Daniel Edward HENRY, etc., et al., Individually and onbehalf of all persons similarly situated, et al.,Intervenors, Plaintiffs-Appellees,v.Honorable John E. WARNER, Individually and in his capacityas Secretary of the Navy, et al., Defendants-Appellants.
    No. 73-1694.
    United States Court of Appeals,Ninth Circuit.
    May 17, 1976.
    
      Nathan Zahm (argued), Sherman Oaks, Cal., for appellee.
      Joel Levine and John E. Nordin, Asst. U. S. Attys.  (argued), of Los Angeles, Cal., for defendants-appellants.OPINION
      On Remand
      Before ELY, HUFSTEDLER, and TRASK, Circuit Judges.
      PER CURIAM:
    
    
      1
      The District Court held that a military serviceman, charged with a military offense and scheduled to be tried by summary court martial, was entitled, as a matter of right, to be represented by counsel or a counsel substitute.  We reversed the District Court's judgment, reported at 357 F.Supp. 495 (D.C.Cal.1973), and remanded the cause to the District Court for reconsideration in the light of our previous holding in Daigle v. Warner, 490 F.2d 358 (9th Cir. 1973).  Henry v. Warner, 493 F.2d 1231 (9th Cir. 1974).  The Supreme Court granted certiorari, reversed our court's judgment, and, in doing so, modified a portion of the Daigle opinion.  Sub nom.  Middendorf v. Henry, --- U.S. ----, 96 S.Ct. 1281, 47 L.Ed.2d 556 (44 U.S.L.W. 4401, March 24, 1976).  We have now received the Supreme Court's mandate.  Accordingly, the cause is remanded to the District Court for reconsideration, not in the light of Daigle but in the light of the Supreme Court's opinion in Middendorf v. Henry, supra.
    
    
      2
      SO ORDERED.
    
    